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 Attorneys for Qatar Airways Investments (UK) Ltd.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                    Chapter 11
In re:
                                                                    Case No. 20-11254 (JLG)
LATAM Airlines Group, S.A., et al.,

                                 Debtors.                           (Jointly Administered)


          STATEMENT OF QATAR AIRWAYS INVESTMENTS (UK) LTD.
      CONCERNING DEBTORS’ FIFTH MOTION FOR ENTRY OF AN ORDER
          EXTENDING THE DEBTORS’ EXCLUSIVE PERIODS IN WHICH
      TO FILE A CHAPTER 11 PLAN AND SOLICIT ACCEPTANCES THEREOF
     AND IN RESPONSE TO CERTAIN FILINGS MADE IN RESPONSE THERETO

         Qatar Airways Investments (UK) Ltd. (“Qatar”) respectfully submits this statement

(“Statement”) concerning the Debtors’ Fifth Motion for Entry of an Order Extending the

Debtors’ Exclusive Periods in Which to File a Chapter 11 Plan and Solicit Acceptances Thereof

[ECF No. 3363] (the “Motion”) 1 and in response to (i) Parent Ad Hoc Claimant Group’s

Limited Objection [ECF No. 3394] (the “Ad Hoc Limited Objection”), and (ii) the Statement

of the Official Committee of Unsecured Creditors Regarding Debtors’ Fifth Motion for Entry of




         1
             All capitalized terms not otherwise defined herein shall have the meaning given to them in the Motion.



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an Order Extending the Debtors’ Exclusive Periods in Which to File a Chapter 11 Plan and

Solicit Acceptances Thereof [ECF No. 3392] (the “UCC Statement”).

                                                 STATEMENT

         1.          Qatar shares the Debtors’ belief that it is in the best interest of all parties to extend

exclusivity for filing a chapter 11 plan through expiration of the statutory period.

         2.          In addition, while Qatar disagrees with many of the statements and

characterizations contained in the Ad Hoc Limited Objection, Qatar supports the view that

mediation is appropriate and necessary at this juncture to assist the parties in connection with plan

negotiations and exit constructs. There can be no serious doubt that mediation of the complex

plan-related issues currently confronting the parties is the best avenue to attempt global resolution

of the issues that were highlighted by the Court during the July 30, 2021 hearing and which resulted

in the Court entering the Order Appointing Hon. Allan L. Gropper (Ret.) As Mediator on August

31, 2021 [ECF No. 3060].

         3.          To that end, Qatar further submits that the UCC’s position that mediation only

include “the Committee and its principal creditor groups” makes no sense given that the Debtors’

major shareholders are necessary parties if the goal is, as it should be, global resolution to enable

the Debtors to emerge from these cases quickly and efficiently. UCC Statement ¶ 9. Absent

participation of the Debtors’ major shareholders, mediation will be wholly ineffective.2




         2
           Qatar also strongly disagrees with the various statements made in the UCC Statement regarding alleged
violations of the absolute priority rule, undue pressure being exerted by the Debtors in favor of the Debtors’ major
shareholders and an overall unfair plan process. See ¶¶ 2, 4 and 7. Suffice it to say, the UCC’s statements are
factually and legally incorrect and will be addressed more fully at the appropriate time.


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         4.          Last, if the Court is inclined to terminate exclusivity (which Qatar does not support

at this time), the Court should not limit that relief to any one particular party, but instead open the

process to others, including the Debtors’ major shareholders.

         5.          Based upon the foregoing, Qatar files this Statement and hereby reserves all of its

rights, including the right to be heard at the hearing on the Motion and to respond to any arguments

made by any party in connection therewith.

Dated: October 25, 2021
       New York, New York

                                                           ALSTON & BIRD LLP

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                                                           (UK) Ltd.




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                                  CERTIFICATE OF SERVICE


         I hereby certify that on this day, I caused to be served true and correct copies of the

foregoing STATEMENT OF QATAR AIRWAYS INVESTMENTS (UK) LTD. CONCERNING

DEBTORS’ FIFTH MOTION FOR ENTRY OF AN ORDER EXTENDING THE DEBTORS’

EXCLUSIVE PERIODS IN WHICH TO FILE A CHAPTER 11 PLAN AND SOLICIT

ACCEPTANCES THEREOF AND IN RESPONSE TO CERTAIN FILINGS MADE IN RESPONSE

THERETO by filing such with the Court’s CM/ECF system.

                                                    /s/ Gerard S. Catalanello
                                                    Gerard S. Catalanello




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